Case 1:20-cr-00361-ELH Document 10 Filed 11/16/20 Pagewt-ehd FILED E
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IN THE UNITED STATES DISTRICT COURT | NOV 1 6 2929
FOR THE DISTRICT OF MARYLAND

BALTIMORE
CLEA: KUeE
xy DRTRCTOPaRVORET
DEPuty
UNITED STATES OF AMERICA
*
v. Case No. ELH-20-361
JAMES IAN PICCIRILLI *
* oR ok Ok

ORDER APPOINTING FEDERAL PUBLIC DEFENDER

The above named Defendant having been found to be indigent and entitled to
appointment of counsel under the Criminal Justice Act, and the government having proffered that
they know of no conflict precluding appointment of the Public Defender,

ITIS ORDERED this _13" day of___ November _ 2020 _, that the
Federal Public Defender for the District of Maryland is appointed to represent the above named

Defendant.

Vhermaa Vl. Dijenslame

Thomas M. DiGirolamo
United States Magistrate Judge

 

U.S. District Court (4/2000) Criminal Magistrate Forms: Appointing Counsel
